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                                     ID #788



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

BRANDON SCOTT KEENA,

Defendant.                                                 No. 07-30136-DRH

                                     ORDER

HERNDON, Chief Judge:

             Now before the Court is Attorney Turner A. Rouse’s motion for leave to

withdraw as attorney of record for Brandon Scott Keena (Doc. 286) because

Defendant Keena has obtained private counsel who has entered an appearance in this

case. Attorney Rouse was appointed counsel for Defendant Keena pursuant to 18

U.S.C. § 3006A. Defendant Keena has since retained counsel and is no longer in

need of CJA counsel. Therefore, Attorney Rouse’s motion for leave to withdraw as

attorney of record (Doc. 286) is GRANTED. Attorney Rouse is hereby WITHDRAWN

as counsel for the Defendant.

             IT IS SO ORDERED.

             Signed this 23rd day of June, 2009.



                                            /s/      DavidRHer|do|
                                            Chief Judge
                                            United States District Court
